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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    NETLIST, INC.,

           Plaintiff,

           v.
                                                      Civil Action No. 2:22-CV-203-JRG-RSP
    MICRON TECHNOLOGY, INC.,
    MICRON SEMICONDUCTOR                                     JURY TRIAL DEMANDED
    PRODUCTS, INC., and MICRON
    TECHNOLOGY TEXAS LLC,

           Defendants.


       DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                      SECOND AMENDED COMPLAINT

          Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

   Technology Texas LLC (“Micron” or “Defendants”) submit this Answer and Affirmative Defenses

   to Plaintiff Netlist, Inc.’s (“Netlist” or “Plaintiff”) Second Amended Complaint. ECF No. 145.

          The numbered paragraphs below correspond to the numbered paragraphs in the Second

   Amended Complaint and constitute Micron’s responsive admissions, denials, and allegations

   thereto. Except as Micron otherwise admits expressly below, Micron denies each and every

   allegation contained in the Second Amended Complaint, including, without limitation, the

   headings, subheadings, footnotes, diagrams, and tables contained in the Second Amended

   Complaint.

          Micron reserves the right to amend or supplement their Answer and Affirmative Defenses.

                            ANSWER TO AMENDED COMPLAINT

          1.     Micron admits that Plaintiff’s pleading purports to be a complaint against

   Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron


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   Technology Texas, LLC. Micron lacks sufficient knowledge or information to form a belief as to

   the truth of the other allegations in paragraph 1 of the Second Amended Complaint and therefore

   denies the same.

           2.     Micron admits that purported copies of U.S. Patent Nos. 10,860,506 (the “’506

   Patent”), 10,949,339 (the “’339 Patent”), 11,016,918 (the “’918 Patent”), 11,232,054 (the “’054

   Patent”), 8,787,060 (the “’060 Patent”), and 9,318,160 (the “’160 Patent”) (collectively, the

   “Asserted Patents”) are attached to the Second Amended Complaint as Exhibits 1 through 6,

   respectively. Micron lacks sufficient knowledge or information to form a belief as to the truth of

   the other allegations in paragraph 2 of the Second Amended Complaint and therefore denies the

   same.

                                            THE PARTIES

           3.     Micron lacks sufficient knowledge or information to form a belief as to the truth of

   the allegations in paragraph 3 of the Second Amended Complaint and therefore denies the same.

           4.     Micron admits that it makes memory products in semiconductor fabrication plants

   for sale to customers. Except as expressly admitted, Micron denies the remaining allegations in

   paragraph 4 of the Second Amended Complaint.

           5.     Micron Technology, Inc. (“MTI”) admits that it is a Delaware corporation. MTI

   admits that it is registered to do business in Texas. MTI admits that it can be served with certain

   process through its registered agent for service of process, Corporation Service Company, 211 E.

   7th Street, Suite 620, Austin, Texas 78701-3218. Except as expressly admitted, Micron denies the

   remaining allegations in paragraph 5 of the Second Amended Complaint.

           6.     Micron Semiconductor Products, Inc. (“MSP”) admits that it is an Idaho

   corporation. MSP admits that it is registered to do business in Texas. MSP admits that it can be

   served with certain process through its registered agent for service of process, Corporation Service
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   Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218. Except as expressly admitted,

   Micron denies the remaining allegations in paragraph 6 of the Second Amended Complaint.

          7.      Micron Technology Texas, LLC (“Micron Texas”) admits that it is an Idaho limited

   liability company. Micron Texas admits that it uses the property located at 950 West Bethany

   Drive, Suite 120, Allen, Texas 75013-3837. Micron Texas admits that it can be served with certain

   process through its registered agent for service of process, Corporation Service Company, 211 E.

   7th Street, Suite 620, Austin, Texas 78701-3218. Except as expressly admitted, Micron denies the

   remaining allegations in paragraph 7 of the Second Amended Complaint.

          8.      Micron admits that MSP and Micron Texas are wholly owned subsidiaries of MTI.

   Micron admits that MTI currently does not separately report revenue from MSP or Micron Texas

   in its public filings submitted to the Securities Exchange Commission. Except as expressly

   admitted, Micron denies the remaining allegations in paragraph 8 of the Second Amended

   Complaint.

          9.      Micron admits that it makes memory products in semiconductor fabrication plants

   for sale to customers. Except as expressly admitted, Micron denies the remaining allegations in

   paragraph 9 of the Second Amended Complaint.

          10.     Micron denies the allegations of paragraph 10 of the Second Amended Complaint.

                                   JURISDICTION AND VENUE

          11.     Paragraph 11 contains conclusions of law and not averments of fact to which the

   rules require an answer, but insofar as the rules require an answer, Micron admits that the Second

   Amended Complaint purports to assert an action under the patent laws of the United States, 35

   U.S.C. § 271 et seq., and that this Court has subject matter jurisdiction over actions for patent

   infringement under 28 U.S.C. § 1338(a).

          12.     Based solely on the allegations in the Second Amended Complaint and assuming
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   (without admitting) them to be true, Micron does not contest personal jurisdiction in this district

   in this case. Except as expressly admitted, Micron denies the remaining allegations in paragraph

   12 of the Second Amended Complaint.

          13.     Based solely on the allegations in the Second Amended Complaint and assuming

   (without admitting) them to be true, Micron does not contest personal jurisdiction in this district

   in this case. Except as expressly admitted, Micron denies the remaining allegations in paragraph

   13 of the Second Amended Complaint.

          14.     Micron denies the allegations of paragraph 14 of the Second Amended Complaint.

                                    FACTUAL ALLEGATIONS

                                             Background

          15.     Micron lacks sufficient knowledge or information to form a belief as to the truth of

   the allegations in paragraph 15 of the Second Amended Complaint and therefore denies the same.

          16.     Micron lacks sufficient knowledge or information to form a belief as to the truth of

   the allegations in paragraph 16 of the Second Amended Complaint and therefore denies the same.

          17.     Micron denies that the allegations in paragraph 17 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

          18.     Micron admits that the JEDEC Solid State Technology Association (“JEDEC”) is

   a standardization body that develops open standards and publications for a broad range of

   semiconductor technologies, including memory modules. Micron denies that the remaining

   allegations in paragraph 18 of the Second Amended Complaint are complete or accurate and, on

   that basis, denies them.

          19.     Micron admits that HBM is a type of memory technology. Micron admits that a

   purported copy of a Micron Technical Brief titled “Integrating and Operating HBM2E Memory”

   is attached to the Second Amended Complaint as Exhibit 9 and includes the image shown in

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   paragraph 19 (p. 6) of the Second Amended Complaint. Micron admits that a purported copy of a

   Micron White Paper titled “The Demand for High-Performance Memory” is attached to the Second

   Amended Complaint as Exhibit 11 and includes the image shown in paragraph 19 (p. 7) of the

   Second Amended Complaint. Micron denies that the remaining allegations in paragraph 19 of the

   Second Amended Complaint are complete or accurate and, on that basis, denies them.

                                     The Asserted Netlist Patents

   The ’506 Patent

          20.     Micron admits that the ’506 Patent states, on its face, that it is titled “Memory

   Module With Timing-Controlled Data Buffering” and that it lists Hyun Lee and Jayesh R. Bhakta

   as inventors. Micron further admits that the ’506 Patent states, on its face, that it was filed as

   Application No. 16/391,151 on April 22, 2019, issued as a patent on December 8, 2020, and

   purports to claim priority to, among others, a utility application filed on July 27, 2013

   (No. 13/952,599) and a provisional application filed on July 27, 2012 (No. 61/676,883). Micron

   lacks knowledge or information sufficient to form a belief as to the truth of the other allegations

   in paragraph 20 of the Second Amended Complaint and therefore denies them.

          21.     Micron admits that Netlist alleged infringement of the ’506 Patent in the Second

   Amended Complaint. Micron denies the remaining allegations in paragraph 21 of the Second

   Amended Complaint.

          22.     Micron admits that the ’506 Patent includes the language “distribution of control

   signals and a control clock signal in the memory module is subject to strict constraints.” ’506

   Patent at 2:17-19. Micron admits that the ’506 Patent includes the language “control wires are

   routed so there is an equal length to each memory component, in order to eliminate variation of

   the timing of the control signals and the control clock signal between different memory devices in

   the memory modules.” Id. at 2:19-23. Micron admits that the ’506 Patent includes the language

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   “[t]he balancing of the length of the wires to each memory devices compromises system

   performance, limits the number of memory devices, and complicates their connections.” Id.

   at 2:23-26. Micron admits that the ’506 Patent includes the language “such leveling mechanisms

   are also insufficient to insure proper timing of the control and/or data signals received and/or

   transmitted by the memory modules.” Id. at 2:32-34. Micron lacks knowledge or information

   sufficient to form a belief as to the truth of the other allegations in paragraph 22 of the Second

   Amended Complaint and therefore denies them.

          23.     Micron admits that the ’506 Patent includes the language “[e]ach respective buffer

   circuit is configured to receive the module control signals and the module clock signal, and to

   buffer a respective set of data signals in response to the module control signals and the module

   clock signal. Each respective buffer circuit includes a delay circuit configured to delay the

   respective set of data signals by an amount determined based on at least one of the module control

   signals.” Id. at Abstract. Micron lacks knowledge or information sufficient to form a belief as to

   the truth of the other allegations in paragraph 23 of the Second Amended Complaint and therefore

   denies them.

          24.     Micron admits that the ’506 Patent includes Figure 2A (modified in paragraph 24

   of the Second Amended Complaint with Netlist annotations).              Micron lacks knowledge or

   information sufficient to form a belief as to the truth of the other allegations in paragraph 24 of the

   Second Amended Complaint and therefore denies them.

          25.     Micron admits that the ’506 Patent includes the language “[b]ecause the isolation

   devices 118 are distributed across the memory module 110, during high speed operations, it may

   take more than one clock cycle time of the system clock MCK for the module control signals to

   travel along the module control signals lines 230 from the module control device 116 to the farthest



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   positioned isolation devices 118, such as isolation device ID-1 and isolation device ID-(n−1) in

   the exemplary configuration shown in FIG. 2.” Id. at 9:52-59. Micron admits that the ’506 Patent

   includes the language “each isolation devices includes signal alignment circuits that determine,

   during a write operation, a time interval between a time when one or more module control signals

   are received from the module control circuit 116 and a time when a write strobe or write data signal

   is received from the MCH 101. This time interval is used during a subsequent read operation to

   time the transmission of read data to the MCH 101, such that the read data follows a read command

   by a read latency value associated with the system 100 . . . .” Id. at 10:11-20. Micron lacks

   knowledge or information sufficient to form a belief as to the truth of the other allegations in

   paragraph 25 of the Second Amended Complaint and therefore denies them.

   The ’339 Patent

          26.     Micron admits that the ’339 Patent states, on its face, that it is titled “Memory

   Module With Controlled Byte-Wise Buffers” and that it lists Hyun Lee and Jayesh R. Bhakta as

   inventors. Micron further admits that the ’339 Patent states, on its face, that it was filed as

   Application No. 15/470,856 on March 27, 2017, issued as a patent on March 16, 2021, and purports

   to claim priority to U.S. Patent Application No. 12/504,131 filed on July 16, 2009, U.S. Patent

   Application No. 12/761,179 filed on April 15, 2010, and U.S. Application No. 13/970,606 filed

   on August 20, 2013. Micron lacks knowledge or information sufficient to form a belief as to the

   truth of the other allegations in paragraph 26 of the Second Amended Complaint and therefore

   denies them.

          27.     Micron admits that Netlist alleged infringement of the ’339 Patent in the Second

   Amended Complaint. Micron denies the remaining allegations in paragraph 27 of the Second

   Amended Complaint.

          28.     Micron admits that the ’339 Patent includes the language “consideration is always
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   given to memory density, power dissipation (or thermal dissipation), speed, and cost.” ’339 Patent

   at 2:5-7. Micron admits that the ’339 Patent includes the language “[g]enerally, these attributes

   are not orthogonal to each other, meaning that optimizing one attribute may detrimentally affect

   another attribute.   For example, increasing memory density typically causes higher power

   dissipation, slower operational speed, and higher costs.” Id. at 2:7-12. Micron lacks knowledge

   or information sufficient to form a belief as to the truth of the other allegations in paragraph 28 of

   the Second Amended Complaint and therefore denies them.

          29.     Micron admits that the ’339 Patent includes the language “[t]he registered address

   and control signals select[] one of the multiple ranks to perform the read or write operation. The

   module controller further outputs a set of module control signals in response to the input address

   and control signals. The memory module further comprises a plurality of byte-wise buffers

   controlled by the set of module control signals to actively drive respective byte-wise sections of

   each data signal associated with the read or write operation between the memory controller and

   the selected rank.” Id. at Abstract. Micron lacks knowledge or information sufficient to form a

   belief as to the truth of the other allegations in paragraph 29 of the Second Amended Complaint

   and therefore denies them.

          30.     Micron admits that the ’339 Patent includes Figure 3A (modified in paragraph 30

   of the Second Amended Complaint with Netlist annotations).              Micron lacks knowledge or

   information sufficient to form a belief as to the truth of the other allegations in paragraph 30 of the

   Second Amended Complaint and therefore denies them.

          31.     Micron admits that the ’339 Patent includes the language “[r]eferring again to

   FIG. 3A, when the memory controller 420 executes read or write operations, each specific

   operation is targeted to a specific one of the ranks A, B, C, and D of a specific memory module



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   402. The data transmission circuit 416 on the specifically targeted one of the memory modules

   402 functions as a bidirectional repeater/multiplexor, such that it drives the data signal when

   connecting from the system memory controller 420 to the memory devices 412. The other data

   transmission circuits 416 on the remaining memory modules 402 are disabled for the specific

   operation. . . . Thus, the memory controller 420, when there are four four-rank memory modules,

   sees four load-reducing switching circuit loads, instead of sixteen memory device loads. The

   reduced load on the memory controller 420 enhances the performance and reduces the power

   requirements of the memory system . . . . ” Id. at 17:14-42. Micron admits that the ’339 Patent

   includes the language “the data transmission circuit 416 comprises or functions as a byte-wise

   buffer. In certain such embodiments, each of the one or more transmission circuits 416 has the

   same bit width as does the associated memory devices 412 per rank to which the data transmission

   circuit 416 is operatively coupled.” Id. at 13:31-36. Micron lacks knowledge or information

   sufficient to form a belief as to the truth of the other allegations in paragraph 31 of the Second

   Amended Complaint and therefore denies them.

   The ’918 Patent

          32.     Micron admits that the ’918 Patent states, on its face, that it is titled “Flash-DRAM

   Hybrid Memory Module” and that it lists Chi-She Chen, Jeffrey C. Solomon, Scott H. Milton, and

   Jayesh Bhakta as inventors. Micron further admits that the ’918 Patent states, on its face, that it

   was filed as Application No. 17/138,766 on December 30, 2020, issued as a patent on May 25,

   2021, and purports to claim priority to U.S. Application No. 15/934,416 filed on March 23, 2018,

   U.S. Application No. 14/840,865 filed on August 31, 2015, U.S. Application No. 14/489,269 filed

   on September 17, 2014, U.S. Application No. 13/559,476 filed on July 26, 2012, U.S. Application

   No. 12/240,916 filed on September 29, 2008, and U.S. Application No. 12/131,873 filed on June 2,

   2008, as well as to two provisional applications, filed on June 1, 2007 (No. 60/941,586) and
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   July 28, 2011 (No. 61/512,871). Micron lacks knowledge or information sufficient to form a belief

   as to the truth of the other allegations in paragraph 32 of the Second Amended Complaint and

   therefore denies them.

          33.     Micron admits that Netlist alleged infringement of the ’918 Patent in the Second

   Amended Complaint. Micron denies the remaining allegations in paragraph 33 of the Second

   Amended Complaint.

          34.     Micron admits that the ’918 Patent includes the language “[f]irst, second, and third

   buck converters receive a pre-regulated input voltage and produce first, second and third regulated

   voltages. A converter circuit reduces the pre-regulated input voltage to provide a fourth regulated

   voltage. Synchronous dynamic random access memory (SDRAM) devices are coupled to one or

   more regulated voltages of the first, second, third and fourth regulated voltages, and a voltage

   monitor circuit monitors an input voltage and produces a signal in response to the input voltage

   having a voltage amplitude that is greater than a threshold voltage.” ’918 Patent at Abstract.

   Micron lacks knowledge or information sufficient to form a belief as to the truth of the other

   allegations in paragraph 34 of the Second Amended Complaint and therefore denies them.

          35.     Micron admits that the ’918 Patent includes Figure 16. Micron lacks knowledge or

   information sufficient to form a belief as to the truth of the other allegations in paragraph 35 of the

   Second Amended Complaint and therefore denies them.

          36.     Micron admits that the ’918 Patent includes the language “[t]he power module 1100

   provides a plurality of voltages to the memory system 1010 comprising non-volatile and volatile

   memory subsystems 1030, 1040. The plurality of voltages comprises at least a first voltage 1102

   and a second voltage 1104. The power module 1100 comprises an input 1106 providing a third

   voltage 1108 to the power module 1100 and a voltage conversion element 1120 configured to



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   provide the second voltage 1104 to the memory system 1010. The power module 1100 further

   comprises a first power element 1130 configured to selectively provide a fourth voltage 1110 to

   the conversion element 1120. In certain embodiments, the first power element 1130 comprises a

   pulse-width modulation power controller.” Id. at 28:3-15. Micron admits that the ’918 Patent

   includes the language “[t]he conversion element 1120 can comprise one or more buck converters

   and/or one or more buck-boost converters.” Id. at 29:18-19. Micron lacks knowledge or

   information sufficient to form a belief as to the truth of the other allegations in paragraph 36 of the

   Second Amended Complaint and therefore denies them.

          37.     Micron admits that the ’918 Patent includes the language “the non-volatile memory

   subsystem 1040 may backup the volatile memory subsystem 1030 in the event of a trigger

   condition, such as, for example, a power failure or power reduction or a request from the host

   system.” Id. at 24:12-16. Micron admits that the ’918 Patent includes the language “the memory

   system 1010 detects that the system voltage is below a certain threshold voltage.” Id. at 24:24-25.

   Micron lacks knowledge or information sufficient to form a belief as to the truth of the other

   allegations in paragraph 37 of the Second Amended Complaint and therefore denies them.

          38.     Micron admits that the ’054 Patent purports to be a continuation of the ’918 Patent.

   Micron lacks knowledge or information sufficient to form a belief as to the truth of the other

   allegations in paragraph 38 of the Second Amended Complaint and therefore denies them.

          39.     Micron lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations in paragraph 39 of the Second Amended Complaint and therefore denies them.

   The ’054 Patent

          40.     Micron admits that the ’054 Patent states, on its face, that it is titled “Flash-DRAM

   Hybrid Memory Module” and that it lists Chi-She Chen, Jeffrey C. Solomon, Scott H. Milton, and

   Jayesh Bhakta as inventors. Micron further admits that the ’054 Patent states, on its face, that it
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   was filed as Application No. 17/328,019 on May 24, 2021, issued as a patent on January 25, 2022,

   and purports to claim priority to U.S. Application No. 17/138,766 filed on December 30, 2020,

   U.S. Application No. 15/934,416 filed on March 23, 2018, U.S. Application No. 14/840,865 filed

   on August 31, 2015, U.S. Application No. 14/489,269 filed on September 17, 2014, U.S.

   Application No. 13/559,476 filed on July 26, 2012, U.S. Application No. 12/240,916 filed on

   September 29, 2008, and U.S. Application No. 12/131,873 filed on June 2, 2008, as well as to two

   provisional applications, filed on June 1, 2007 (No. 60/941,586) and July 28, 2011

   (No. 61/512,871). Micron lacks knowledge or information sufficient to form a belief as to the

   truth of the other allegations in paragraph 40 of the Second Amended Complaint and therefore

   denies them.

          41.     Micron admits that Netlist alleged infringement of the ’054 Patent in the Second

   Amended Complaint. Micron denies the remaining allegations in paragraph 41 of the Second

   Amended Complaint.

          42.     Micron admits that the ’054 Patent includes the language “[f]irst, second, and third

   buck converters receive a pre-regulated input voltage and produce first, second and third regulated

   voltages. A converter circuit reduces the pre-regulated input voltage to provide a fourth regulated

   voltage. Synchronous dynamic random access memory (SDRAM) devices are coupled to one or

   more regulated voltages of the first, second, third and fourth regulated voltages, and a voltage

   monitor circuit monitors an input voltage and produces a signal in response to the input voltage

   having a voltage amplitude that is greater than a threshold voltage.” ’054 Patent at Abstract.

   Micron lacks knowledge or information sufficient to form a belief as to the truth of the other

   allegations in paragraph 42 of the Second Amended Complaint and therefore denies them.

          43.     Micron admits that the ’054 Patent includes Figure 16. Micron lacks knowledge or



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   information sufficient to form a belief as to the truth of the other allegations in paragraph 43 of the

   Second Amended Complaint and therefore denies them.

           44.    Micron denies the allegations of paragraph 44 of the Second Amended Complaint.

   The ’060 and ’160 Patents

           45.    Micron admits that the ’060 Patent states, on its face, that it is titled “Method and

   Apparatus for Optimizing Driver Load in a Memory Package” and that it lists Hyun Lee as the

   sole inventor. Micron further admits that the ’060 Patent states, on its face, that it was filed as

   Application No. 13/288,850 on November 3, 2011, issued as a patent on July 22, 2014, and

   purports to claim priority to a provisional application filed on November 3, 2010 (U.S. Application

   No. 61/409,893). Micron lacks knowledge or information sufficient to form a belief as to the truth

   of the other allegations in paragraph 45 of the Second Amended Complaint and therefore denies

   them.

           46.    Micron admits that the ’160 Patent states, on its face, that it is a continuation of the

   ’060 Patent, that it is titled “Memory Package with Optimized Driver Load and Method of

   Operation,” and that it lists Hyun Lee as the sole inventor. Micron further admits that the ’160

   Patent states, on its face, that it was filed as Application No. 14/337,168 on July 21, 2014, issued

   as a patent on April 19, 2016, and purports to claim priority to U.S. Application No. 13/288,850

   (which issued as the ’060 Patent) and a provisional application filed on November 3, 2010 (U.S.

   Application No. 61/409,893). Micron lacks knowledge or information sufficient to form a belief

   as to the truth of the other allegations in paragraph 46 of the Second Amended Complaint and

   therefore denies them.

           47.    Micron admits that Netlist alleged infringement of the ’060 and ’160 Patents in the

   Second Amended Complaint. Micron denies the remaining allegations in paragraph 47 of the

   Second Amended Complaint.
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          48.     Micron lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations in paragraph 48 of the Second Amended Complaint and therefore denies them.

          49.     Micron admits that the ’060 and ’160 Patents include the language “[t]he first die

   interconnect is in electrical communication with a data port of a first array die and a data port of a

   second array die and not in electrical communication with data ports of a third array die. The

   second die interconnect is in electrical communication with a data port of the third array die and

   not in electrical communication with data ports of the first array die and the second array die. The

   apparatus includes a control die that includes a first data conduit configured to transmit a data

   signal to the first die interconnect and not to the second die interconnect, and at least a second data

   conduit configured to transmit the data signal to the second die interconnect and not to the first die

   interconnect.” ’060 Patent at Abstract; ’160 Patent at Abstract. Micron lacks knowledge or

   information sufficient to form a belief as to the truth of the other allegations in paragraph 49 of the

   Second Amended Complaint and therefore denies them.

          50.     Micron admits that the ’060 and ’160 Patents both include Figure 2 and that

   Figure 2 is identical in each patent. Micron lacks knowledge or information sufficient to form a

   belief as to the truth of the other allegations in paragraph 50 of the Second Amended Complaint

   and therefore denies them.

          51.     Micron admits that the ’060 and ’160 Patents include the language “[e]ach of these

   die interconnects 320 may be coupled to, or in electrical communication with at least one port of

   at least one of the array dies 310. As with the memory package 200, in certain embodiments, at

   least one of the die interconnects 320 is in electrical communication with at least one port from

   each of at least two array dies 310 without being in electrical communication with a port from at

   least one array die 310, which may be in electrical communication with a different die interconnect



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   320.” ’060 Patent at 5:54-62; ’160 Patent at 5:57-65. Micron lacks knowledge or information

   sufficient to form a belief as to the truth of the other allegations in paragraph 51 of the Second

   Amended Complaint and therefore denies them.

                                           Micron’s Activities1

            52.     Micron admits that certain Micron entities design and manufacture memory and

   storage products, including DRAM, DIMMs, and Multichip Packages. Except as expressly

   admitted, Micron denies the remaining allegations of paragraph 52 of the Second Amended

   Complaint.

            53.     Micron admits that it received a letter from Netlist dated April 28, 2021. Except as

   expressly admitted, Micron denies the remaining allegations of paragraph 53 of the Second

   Amended Complaint.

   DDR4 Memory Modules

            54.     Micron admits that the Second Amended Complaint purports to define the “accused

   DDR4 products” as stated in paragraph 54. Except as expressly admitted, Micron denies the

   remaining allegations of paragraph 54.

   DDR5 Memory Modules

            55.     Micron admits that the Second Amended Complaint purports to define the “accused

   DDR5 products” as stated in paragraph 55. Except as expressly admitted, Micron denies the

   remaining allegations of paragraph 55 of the Second Amended Complaint.

            56.     Micron admits that the Second Amended Complaint purports to define the

   “Accused Instrumentalities” as stated in paragraph 56. Except as expressly admitted, Micron

   denies the remaining allegations of paragraph 56 of the Second Amended Complaint.



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       Micron denies the allegation contained in the header preceding paragraph 52.
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          57.     Micron admits that the Second Amended Complaint purports to define the “accused

   DDR5 products” as stated in paragraph 57. Except as expressly admitted, Micron denies the

   remaining allegations of paragraph 57 of the Second Amended Complaint.

          58.     Micron admits that a purported copy of a Micron White Paper titled “Micron®

   DDR5: Client Module Features” is attached to the Second Amended Complaint as Exhibit 10 and

   includes the image shown in paragraph 58 of the Second Amended Complaint. Micron denies that

   the remaining allegations in paragraph 58 of the Second Amended Complaint are complete or

   accurate and, on that basis, denies them.

          59.      Micron admits that paragraph 59 cites to Exhibit 10 of the Second Amended

   Complaint. Micron denies that the remaining allegations in paragraph 59 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

   High Bandwidth Memory (“HBM”)

          60.     Micron admits that HBM is a type of memory technology. Micron denies that the

   remaining allegations in paragraph 60 of the Second Amended Complaint are complete or accurate

   and, on that basis, denies them.

          61.     Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the image shown in paragraph 61 of the Second Amended Complaint. Except as expressly

   admitted, Micron denies the remaining allegations of paragraph 61 of the Second Amended

   Complaint.

          62.     Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the language “[h]igh-bandwidth memory (HBM) is the fastest DRAM on the planet,

   designed for applications that demand the maximum bandwidth between memory and processing,”
                                                  16
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   “[b]y tightly integrating through-silicon-via (TSV) stacked memory die with the host application-

   specific integrated circuit (ASIC) . . ., in the same chip package, Micron delivers the best

   bandwidth possible,” and “HBM2E device provides top energy efficiency and high capacity in a

   very small footprint.” Micron denies that the remaining allegations in paragraph 62 of the Second

   Amended Complaint are complete or accurate and, on that basis, denies them.

          63.     Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the images shown in paragraph 63 of the Second Amended Complaint. Micron denies

   that the remaining allegations in paragraph 63 of the Second Amended Complaint are complete or

   accurate and, on that basis, denies them.

          64.     Micron admits that the Second Amended Complaint purports to define the

   “Accused HBM Products” as stated in paragraph 64. Except as expressly admitted, Micron denies

   the remaining allegations of paragraph 64 of the Second Amended Complaint.

          65.     Micron admits that the Second Amended Complaint purports to define the

   “Accused HBM Products” as stated in paragraph 65. Except as expressly admitted, Micron denies

   the remaining allegations of paragraph 65 of the Second Amended Complaint.

                   [NETLIST’S] FIRST CLAIM FOR RELIEF – ’506 PATENT

          66.     Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint as described above.

          67.     Micron denies the allegations of paragraph 67 of the Second Amended Complaint.

          68.     Micron admits that a purported copy of a Micron DDR4 SDRAM LRDIMM Core

   product description document is attached to the Second Amended Complaint as Exhibit 16, and

   that Exhibit 16 includes the images shown in paragraph 68 of the Second Amended Complaint.

   Micron denies the remainder of paragraph 68 to the extent that it does not accurately quote this
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   document and denies any remaining allegation.

          69.     Micron admits that a purported copy of a Micron DDR4 SDRAM LRDIMM Core

   product description document is attached to the Second Amended Complaint as Exhibit 16, and

   that Exhibit 16 includes the images shown in paragraph 69 of the Second Amended Complaint and

   the language “[t]o reduce the electrical load on the host memory controller’s command, address,

   and control bus.” Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet

   is attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 69 of the Second Amended Complaint. Micron denies the remainder of paragraph 69

   to the extent that it does not accurately quote the documents referenced in paragraph 69 and any

   remaining allegation.

          70.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 70 of the Second Amended Complaint. Micron denies the remainder of paragraph 70

   to the extent that it does not accurately quote this document and any remaining allegation.

          71.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 71 of the Second Amended Complaint. Micron denies the remainder of paragraph 71

   to the extent that it does not accurately quote this document and any remaining allegation.

          72.     Micron admits that the image included in paragraph 72 appears to have been taken

   from JEDEC Standard No. JESD82-32A (August 2019) that is attached to the Second Amended

   Complaint as Exhibit 18. Micron denies the remainder of paragraph 72 to the extent that it does

   not accurately quote the documents referenced in paragraph 72 and any remaining allegation.

          73.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is



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   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 73 of the Second Amended Complaint. Micron denies the remainder of paragraph 73

   to the extent that it does not accurately quote this document and any remaining allegation.

          74.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 74 of the Second Amended Complaint. Micron denies the remainder of paragraph 74

   to the extent that it does not accurately quote this document and any remaining allegation.

          75.     Micron denies the allegations of paragraph 75 of the Second Amended Complaint.

          76.     Micron denies the allegations of paragraph 76 of the Second Amended Complaint.

          77.     Micron denies the allegations of paragraph 77 of the Second Amended Complaint.

                 [NETLIST’S] SECOND CLAIM FOR RELIEF – ’339 PATENT

          78.     Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint Complaint as described above.

          79.     Micron denies the allegations of paragraph 79.

          80.     Micron admits that a purported copy of a Micron DDR4 SDRAM LRDIMM Core

   product description document is attached to the Second Amended Complaint as Exhibit 16, and

   that Exhibit 16 includes the images shown in paragraph 80 of the Second Amended Complaint and

   the language “[t]o reduce the electrical load on the host memory controller’s command, address,

   and control bus.” Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet

   is attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 80 of the Second Amended Complaint. Micron denies the remainder of paragraph 80

   to the extent that it does not accurately quote the documents referenced in paragraph 80 and any

   remaining allegation.

          81.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is
                                                   19
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   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 81 of the Second Amended Complaint. Micron denies the remainder of paragraph 81

   to the extent that it does not accurately quote this document and any remaining allegation.

          82.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 82 of the Second Amended Complaint. Micron denies the remainder of paragraph 82

   to the extent that it does not accurately quote this document and any remaining allegation.

          83.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image referenced in

   paragraph 83 of the Second Amended Complaint. Micron denies the remainder of paragraph 83

   to the extent that it does not accurately quote this document and any remaining allegation.

          84.     Micron admits that a purported copy of a Micron MTA36ASF4G72LZ datasheet is

   attached to the Second Amended Complaint as Exhibit 15 and includes the image shown in

   paragraph 84 of the Second Amended Complaint. Micron denies the remainder of paragraph 84

   to the extent that it does not accurately quote this document and any remaining allegation.

          85.     Micron admits that the image included in paragraph 85 appears to have been taken

   from JEDEC Standard No. JESD79-4C (January 2020) that is attached to the Second Amended

   Complaint as Exhibit 19. Micron denies the remainder of paragraph 85 to the extent that it does

   not accurately quote the documents referenced in paragraph 85 and any remaining allegation.

          86.     Micron admits that the image included in paragraph 86 appears to have been taken

   from JEDEC Standard No. 21C (4.20.27) that is attached to the Second Amended Complaint as

   Exhibit 20. Micron denies the remainder of paragraph 86 to the extent that it does not accurately

   quote this document and any remaining allegation.



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          87.     Micron admits that the image included in paragraph 87 appears to have been taken

   from JEDEC Standard No. JESD82-32A (August 2019) that is attached to the Second Amended

   Complaint as Exhibit 18. Micron denies the remainder of paragraph 87 to the extent that it does

   not accurately quote the documents referenced in paragraph 87 and any remaining allegation.

          88.     Micron admits that the images included in paragraph 88 appear to have been taken

   from JEDEC Standard No. JESD82-32A (August 2019) that is attached to the Second Amended

   Complaint as Exhibit 18. Micron denies the remainder of paragraph 88 to the extent that it does

   not accurately quote the documents referenced in paragraph 88 and any remaining allegation.

          89.     Micron denies the allegations of paragraph 89 of the Second Amended Complaint.

          90.     Micron denies the allegations of paragraph 90 of the Second Amended Complaint.

          91.     Micron denies the allegations of paragraph 91 of the Second Amended Complaint.

                  [NETLIST’S] THIRD CLAIM FOR RELIEF – ’918 PATENT

          92.     Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint as described above.

          93.     Micron denies the allegations of paragraph 93.

          94.     Micron admits that paragraph 94 appears to include an annotated image from the

   Second Amended Complaint’s Exhibit 14. Micron denies the remainder of paragraph 94 to the

   extent that it does not accurately quote this document and any remaining allegation.

          95.     Micron admits that a purported copy of a Micron Technical Brief titled “Micron®

   DDR5: Key Module Features” is attached to the Second Amended Complaint as Exhibit 8, and

   that Exhibit 8 includes the image shown in paragraph 95 of the Second Amended Complaint and

   the language “DDR5 modules introduce local voltage regulation on the module. The voltage

   regulation is achieved by a power management integrated circuit (PMIC). The PMIC provides the

   brains of a smart voltage regulation system for the DDR5 DIMM, enabling Configurability of
                                                   21
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   voltage ramps and levels as well as current monitoring. Power management has historically been

   done on the motherboard. The introduction of PMICs allows additional features like threshold

   protection, error injection capabilities, programmable power on sequence, and power management

   features. The presence of the PMIC on the module enables better power regulation and reduces

   complexity of the motherboard design by reducing the scope of DRAM power delivery (PDN)

   management.” Micron denies the remainder of paragraph 95 to the extent that it does not

   accurately quote the documents referenced in paragraph 95 and any remaining allegation.

          96.     Micron admits that the images included in paragraph 96 that are annotated by

   Netlist appear to have been taken from JEDEC Standard No. JESD301-1 (June 2020) that is

   attached to the Second Amended Complaint as Exhibit 21. Micron denies the remainder of

   paragraph 96 to the extent that it does not accurately quote this document and any remaining

   allegation.

          97.     Micron admits that a purported copy of a Micron Technical Brief titled “Micron®

   DDR5: Key Module Features” is attached to the Second Amended Complaint as Exhibit 8 and

   includes the image shown at the bottom of page 53 in paragraph 97 of the Second Amended

   Complaint. Micron admits that the two top images included on page 54 in paragraph 97 appear to

   have been taken from JEDEC Standard No. JESD79-5 (July 2020) that is attached to the Second

   Amended Complaint as Exhibit 22. Micron admits that the bottom image included on page 54 in

   paragraph 97 appears to have been taken from JEDEC Standard No. JESD82-511 (August 2021)

   that is attached to the Second Amended Complaint as Exhibit 17. Micron denies the remainder of

   paragraph 97 to the extent that it does not accurately quote the documents referenced in paragraph

   97 and any remaining allegation.

          98.     Micron admits that the image included in paragraph 98 appears to have been taken



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   from JEDEC Standard No. JESD82-511 (August 2021) that is attached to the Second Amended

   Complaint as Exhibit 17. Micron denies the remainder of paragraph 98 to the extent that it does

   not accurately quote this document and any remaining allegation.

          99.    Micron admits that the image included in paragraph 99 appears to have been taken

   from JEDEC Standard No. JESD82-511 (August 2021) that is attached to the Second Amended

   Complaint as Exhibit 17. Micron denies the remainder of paragraph 99 to the extent that it does

   not accurately quote this document and any remaining allegation.

          100.   Micron denies the allegations of paragraph 100 of the Second Amended Complaint.

          101.   Micron denies the allegations of paragraph 101 of the Second Amended Complaint.

          102.   Micron denies the allegations of paragraph 102 of the Second Amended Complaint.

                 [NETLIST’S] FOURTH CLAIM FOR RELIEF – ’054 PATENT

          103.   Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint as described above.

          104.   Micron denies the allegations of paragraph 104 of the Second Amended Complaint.

          105.   Micron admits that a purported copy of a Micron White Paper titled “Micron®

   DDR5: Client Module Features” is attached to the Second Amended Complaint as Exhibit 10 and

   includes the image shown in paragraph 105 of the Second Amended Complaint. Micron denies

   the remainder of paragraph 105 to the extent that it does not accurately quote this document and

   any remaining allegation.

          106.   Micron admits that a purported copy of a Micron White Paper titled “Micron®

   DDR5: Client Module Features” is attached to the Second Amended Complaint as Exhibit 10 and

   includes the images shown on page 58 in paragraph 106 of the Second Amended Complaint.

   Micron admits that a purported copy of a Micron product description document titled “DDR5

   SDRAM UDIMM Core” is attached to the Second Amended Complaint as Exhibit 13 and includes
                                                  23
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   the image shown on page 59 in paragraph 106 of the Second Amended Complaint. Micron denies

   the remainder of paragraph 106 to the extent that it does not accurately quote the documents

   referenced in paragraph 106 and any remaining allegation.

          107.    Micron admits that a purported copy of a Micron Technical Brief titled “Micron®

   DDR5: Key Module Features” is attached to the Second Amended Complaint as Exhibit 8 and

   includes the language “[t]he PMIC provides the brains of a smart voltage regulation system for the

   DDR5 DIMM, enabling configurability of voltage ramps and levels as well as current monitoring.”

   Micron denies the remainder of paragraph 107 to the extent that it does not accurately quote the

   documents referenced in paragraph 107 and any remaining allegation.

          108.    Micron admits that the accused DDR5 products include components. Micron

   denies that the allegations in paragraph 108 of the Second Amended Complaint are complete or

   accurate and, on that basis, denies them.

          109.    Micron admits that the images included in paragraph 109 appear to have been taken

   from JEDEC Standard No. JESD301-1 (June 2020) that is attached to the Second Amended

   Complaint as Exhibit 21. Micron denies the remainder of paragraph 109 to the extent that it does

   not accurately quote this document and any remaining allegation.

          110.    Micron admits that the images included in paragraph 110 appear to have been taken

   from JEDEC Standard No. JESD301-1 (June 2020) that is attached to the Second Amended

   Complaint as Exhibit 21. Micron denies the remainder of paragraph 110 to the extent that it does

   not accurately quote this document and any remaining allegation.

          111.    Micron denies the allegations of paragraph 111 of the Second Amended Complaint.

          112.    Micron denies the allegations of paragraph 112 of the Second Amended Complaint.

          113.    Micron denies the allegations of paragraph 113 of the Second Amended Complaint.



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                  [NETLIST’S] FIFTH CLAIM FOR RELIEF – ’060 PATENT

          114.   Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint as described above.

          115.   Micron denies the allegations of paragraph 115 of the Second Amended Complaint.

          116.   Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the images shown in paragraph 116 of the Second Amended Complaint. Micron denies

   the remainder of paragraph 116 of the Second Amended Complaint to the extent that it does not

   accurately quote this document and any remaining allegation.

          117.   Micron denies that the allegations in paragraph 117 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

          118.   Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the language “[t]he HBM2E DRAM is soldered to a silicon interposer that routes all

   interface signals in very tiny traces to the host ASIC.” Micron admits that a purported copy of a

   Micron White Paper titled “The Demand for High-Performance Memory” is attached to the Second

   Amended Complaint as Exhibit 11 and includes the image shown in paragraph 118 of the Second

   Amended Complaint. Micron denies the remainder of paragraph 118 of the Second Amended

   Complaint to the extent that it does not accurately quote the documents referenced in paragraph

   118 and any remaining allegation.

          119.   Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the images shown in paragraph 119 of the Second Amended Complaint. Micron denies

   the remainder of paragraph 119 of the Second Amended Complaint to the extent that it does not
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   accurately quote the documents referenced in paragraph 119 and any remaining allegation.

          120.    Micron denies that the allegations in paragraph 120 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

          121.    Micron denies that the allegations in paragraph 121 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

          122.    Micron denies the allegations of paragraph 122 of the Second Amended Complaint.

          123.    Micron denies the allegations of paragraph 123 of the Second Amended Complaint.

          124.    Micron denies the allegations of paragraph 124 of the Second Amended Complaint.

                  [NETLIST’S] SIXTH CLAIM FOR RELIEF – ’160 PATENT

          125.    Micron repeats and incorporates by reference its responses to the allegations of the

   foregoing paragraphs of the Second Amended Complaint as described above.

          126.    Micron denies the allegations of paragraph 126 of the Second Amended Complaint.

          127.    Micron admits that paragraph 127 of the Second Amended Complaint appears to

   refer to Exhibit 12 to the Second Amended Complaint. Micron denies the remainder of paragraph

   127 to the extent that it does not accurately quote this document and any remaining allegation.

          128.    Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and

   includes the images shown in paragraph 128 of the Second Amended Complaint. Micron denies

   the remainder of paragraph 128 to the extent that it does not accurately quote this document and

   any remaining allegation.

          129.    Micron denies that the allegations in paragraph 129 of the Second Amended

   Complaint are complete or accurate and, on that basis, denies them.

          130.    Micron admits that a purported copy of a Micron Technical Brief titled “Integrating

   and Operating HBM2E Memory” is attached to the Second Amended Complaint as Exhibit 9 and
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   includes the language “[t]he HBM2E interfaces use regular pull/push drivers with programmable

   driver strength for signaling.” Micron denies the remainder of paragraph 130 to the extent that it

   does not accurately quote this document and any remaining allegation.

           131.    Micron denies the allegations of paragraph 131 of the Second Amended Complaint.

           132.    Micron denies the allegations of paragraph 132 of the Second Amended Complaint.

           133.    Micron denies the allegations of paragraph 133 of the Second Amended Complaint.

                             [NETLIST’S] DEMAND FOR JURY TRIAL

           134.    Micron admits that the Second Amended Complaint purports to demand a trial by

   jury on all issues so triable.

                                    [NETLIST’S] PRAYER FOR RELIEF

           Micron denies that Netlist is entitled to any relief in this action, as requested in

   paragraphs (A) through (H) of Netlist’s Prayer for Relief or otherwise.




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                              MICRON’S AFFIRMATIVE DEFENSES

          Subject to its responses above, and upon information and belief, Micron alleges and asserts

   these defenses in response to the allegations in the Second Amended Complaint, undertaking the

   burden of proof only as to those defenses deemed affirmative defenses by law, regardless of how

   such defenses are denominated. In addition to the affirmative defenses described below, subject

   to the responses above, Micron reserves all rights to allege additional defenses pursuant to any

   scheduling order that becomes known through the course of discovery or otherwise.

               FIRST AFFIRMATIVE DEFENSE – FAILURE TO STATE A CLAIM

          1.      Netlist has failed to plead its claims with sufficient specificity or factual support to

   place Micron on notice of the claims Netlist is asserting against it, such that Netlist has failed to

   state a claim upon which relief can be granted.

                 SECOND AFFIRMATIVE DEFENSE – NON-INFRINGEMENT

          2.      Micron has not infringed and does not infringe (i) directly, either literally or under

   the doctrine of equivalents, (ii) indirectly by contributing to infringement by others, either literally

   or under the doctrine of equivalents, and/or (iii) indirectly by inducing others to infringe, either

   literally or under the doctrine of equivalents, any valid and enforceable claim of the Asserted

   Patents, willfully or otherwise.

                        THIRD AFFIRMATIVE DEFENSE – INVALIDITY

          3.      One or more claims of the Asserted Patents are invalid for failure to meet the

   conditions of patentability and/or otherwise comply with the requirements of 35 U.S.C. § 101 et

   seq., including, but not limited to, 35 U.S.C. §§ 101, 102, 103, and/or 112.

        FOURTH AFFIRMATIVE DEFENSE – PROSECUTION HISTORY ESTOPPEL

          4.      One or more claims are limited by the text of the Asserted Patents and prosecution

   histories of the Asserted Patents and related patents such that Netlist is estopped, or otherwise

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   precluded, from asserting that the claim is infringed by Micron, literally or by equivalents.

                 FIFTH AFFIRMATIVE DEFENSE – WAIVER AND ESTOPPEL

          5.       Netlist’s claims for relief, in whole or in part, are barred by the doctrines of waiver

   and/or equitable estoppel.

       SIXTH AFFIRMATIVE DEFENSE – LICENSE AND COVENANT NOT TO SUE

          6.       Netlist’s claims for relief, in whole or in part, are precluded to the extent any of the

   claims of the Asserted Patents are subject to a license and covenant not to sue, express and/or

   implied.

              SEVENTH AFFIRMATIVE DEFENSE – STATUTE OF LIMITATIONS

          7.       Netlist’s recovery for any infringement of the Asserted Patents that it might

   establish is limited to any established infringement occurring no more than six years before the

   filing of this lawsuit, pursuant to 35 U.S.C. § 286.

                   EIGHTH AFFIRMATIVE DEFENSE – LACK OF MARKING

          8.       Netlist’s recovery for alleged infringement of the Asserted Patents, if any, is limited

   to alleged infringement committed after Netlist provided actual or constructive notice of

   infringement under 35 U.S.C. § 287.

               NINTH AFFIRMATIVE DEFENSE – NO WILLFUL INFRINGEMENT

          9.       Netlist fails to state a claim for relief against Micron for enhanced or increased

   damages for willful infringement.

                 TENTH AFFIRMATIVE DEFENSE – NO EXCEPTIONAL CASE

          10.      Netlist fails to state a claim for relief against Micron for exceptional case under 35

   U.S.C. § 285.

                       ELEVENTH AFFIRMATIVE DEFENSE – NO COSTS

          11.      Netlist is barred by 35 U.S.C. § 288 from recovering any costs associated with this

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   lawsuit.

                  TWELFTH AFFIRMATIVE DEFENSE – LACK OF STANDING

          12.      To the extent that Netlist was not the sole and total owner of all substantial rights

   in any of the Asserted Patents as of the filing date of the Second Amended Complaint, Netlist lacks

   standing to bring one or more claims in this lawsuit.

                   THIRTEENTH AFFIRMATIVE DEFENSE – EXHAUSTION

          13.      Netlist’s claims are barred, in whole or in part, by the doctrine of patent exhaustion.

              FOURTEENTH AFFIRMATIVE DEFENSE – ABSENCE OF DAMAGES

          14.      Netlist has not suffered and will not suffer any injury or damages as a result of

   Micron’s alleged conduct.

   FIFTEENTH AFFIRMATIVE DEFENSE – LACHES, INEQUITABLE CONDUCT, AND
                           UNCLEAN HANDS

          15.      Netlist is barred, in whole or in part, under principles of equity, including laches,

   prosecution laches, inequitable conduct, and/or unclean hands. Netlist is also barred by issue

   preclusion from reasserting or altering its positions on factual and legal issues that were previously

   adjudicated.

          16.      Individuals substantively involved in the prosecution of the ’506 Patent knew about

   material and non-cumulative prior art by virtue of their participation in JEDEC standards meetings.

   On information and belief, these individuals specifically intended to deceive the Patent Office into

   believing that the claims of the ’506 Patent were patentable by withholding the relevant art from

   the examiner during prosecution of the patent.

                   Background on the Alleged Invention, the Prosecution of the ’506 Patent,
                   and Events Occurring During the Same

          17.      The ’506 Patent issued from a series of continuation applications: U.S. Patent

   Application Nos. 15/820,076 (U.S. Patent No. 10,268,608; hereinafter the “’608 Patent”);

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   15/426,064 (U.S. Patent No. 9,824,035; hereinafter, the “’035 Patent”); 14/846,993 (U.S. Patent

   No. 9,563,587; hereinafter, the “’587 Patent”); and 13/952,599 (U.S. Patent No. 9,128,632;

   hereinafter, the “’632 Patent”). This chain of continuation applications ultimately claims priority

   to U.S. Provisional Patent Application No. 61/676,883, which was filed on July 27, 2012. All the

   applications name Hyun Lee and Jayesh R. Bhakta as the inventors.

          18.     The ’506 Patent incorporates by reference a number of Netlist’s other patent

   applications, including U.S. Patent Application Nos. 14/715,486 (U.S. Patent No. 9,858,821);

   13/970,606 (U.S. Patent No. 9,606,907); 12/504,131 (U.S. Patent No. 8,417,870); 12/761,179

   (U.S. Patent No. 8,516,185); 13/287,042 (U.S. Patent No. 8,756,364); and 13/287,081 (U.S. Patent

   No. 8,516,188).

          19.     On April 10, 2020, Netlist filed a terminal disclaimer for the ’506 Patent over the

   ’608, ’035, ’587, and ’632 Patents.

                  1.     Hyun Lee’s and Jayesh Bhakta’s Alleged Conception and Reduction
                         to Practice, and Regular Attendance at JEDEC Meetings

          20.     Hyun Lee continued to regularly attend JEDEC meetings for at least the JC-40

   committee and the JC-45 committee in 2011 and 2012, as well as before and after that time frame.

   For instance, on information and belief, Hyun Lee attended at least the following JC-40 meetings:

   No. 168, Dec. 8, 2011; No. 169, Mar. 5, 2012; and No. 170, June 4, 2012. And, on information

   and belief, Hyun Lee attended at least the following JC-45 meetings: No. 33, Dec. 7-8, 2011;

   No. 34, Mar. 5, 2012; and No. 35, June 4, 2012.

          21.     By virtue of his attendance at those meetings, active involvement in JEDEC and

   otherwise, on information and belief, Hyun Lee was aware of the draft and final specifications for

   DDR4 LRDIMMs being considered and voted upon by those committees, including JESD82-32,

   dated November 2016, as well as prior drafts of it. For example, Intel presented and discussed


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   Committee Item Number 158.01 (“DDR4 LRDIMM Proposal”) at the December 8, 2011 meeting

   of JC-40, Committee Item Number 0311.14 (“Proposed DDR4 DB Training Modes”) at the

   March 25, 2012 meeting of JC-40, and Committee Item Number 0311.12 (“Proposed DDR DB

   Buffer Control Words”) at the June 4, 2012 meeting of JC-40.

          22.     On information and belief, the JESD82-32 standard was circulated at or before, and

   discussed at and voted on at or before, the JC-40 and JC-45 committee meetings that Hyun Lee

   attended.

          23.     On information and belief, draft Committee Item Number 158.01 was created by

   employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

   meeting on December 8, 2011 that Hyun Lee attended.

          24.     On information and belief, draft Committee Item Number 0311.14 was created by

   employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

   meeting on March 5, 2012 that Hyun Lee attended.

          25.     On information and belief, draft Committee Item Number 0311.12 was created by

   employees of Intel Corp. and circulated at or before, and discussed at, the JC-40 committee

   meeting on June 4, 2012 that Hyun Lee attended.

          26.     By virtue of his attendance at those meetings, active involvement in JEDEC and

   otherwise, on information and belief, Hyun Lee was aware of the draft and final specifications for

   DDR4 LRDIMMs being considered and voted upon by those subcommittees.

          27.     Draft specifications, ballots, and presentations distributed to the members of the

   JC-40 and/or JC-45 committees of JEDEC were distributed to many (20+) key members of the

   interested public with the expectation they would be freely disclosed to and discussed with others.




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   As such, they are prior art under 35 U.S.C. § 102 at least as of those distribution dates.

           28.     Distributed specifications, such as JESD82-32, are prior art under 35 U.S.C. § 102

   at least as of their release dates.

           29.     The provisional application to which the ’506 Patent claims priority was filed on

   July 12, 2012, naming Hyun Lee as the inventor. Jayesh R. Bhakta was named as a co-inventor

   after the provisional application was filed.

           30.     On information and belief, and based on Netlist’s apparent view of the scope of the

   alleged invention, each of the draft DDR4 LRDIMM specifications and presentations disclose

   materially the same structure and functionality that Netlist accuses of infringing the claims of the

   ’506 Patent.

           31.     On information and belief, after attending the June 4, 2012 meeting and listening

   to these ideas from other members of JEDEC, Hyun Lee returned to Netlist and hurriedly

   completed drafting the provisional application to which the ’506 Patent claims priority, naming

   himself as the inventor, and had a provisional application filed on July 27, 2012. Netlist filed a

   request to correct inventorship on September 26, 2012, adding Jay R. Bhakta as a co-inventor.

                   2.      ’506 Patent Prosecution and Corresponding Events

           32.     Netlist filed the application, No. 16/391,151, that issued as the ’506 Patent on

   April 22, 2019.

           33.     On August 20, 2019, Netlist filed an Information Disclosure Statement (IDS) Form

   containing seven sheets. JEDEC DDR LRDIMM drafts and specifications were not included.

           34.     On January 8, 2020, Netlist filed an IDS Form containing twenty-two sheets. The

   cited references include numerous entire prosecution histories for other Netlist applications.

   JEDEC DDR LRDIMM drafts and specifications were not included.

           35.     On January 10, 2020, the examiner issued a Non-Final Rejection rejecting then-
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   pending claim 1 for obviousness-type double patenting and as anticipated by U.S. Patent

   No. 8,565,033 (“Manoharajah”).

           36.    On April 10, 2020, Netlist filed an Amendment and Request for Reconsideration

   after Non-Final Rejection. Netlist’s response included a Terminal Disclaimer and canceled

   claim 1. Netlist added claims 2–21.

           37.    On July 23, 2020, the examiner issued a Notice of Allowance for the application

   that issued as the ’506 Patent.

           38.    On October 16, 2020, Netlist filed an Amendment after Allowance, and on

   October 22, 2020, Netlist paid the issue fee for the application that issued as the ’506 Patent.

           39.    On November 11, 2020, the examiner accepted the Amendment.

           40.    On November 18, 2020, the examiner issued an issue date notification for the

   application that issued as the ’506 Patent. That notification specified an issue date of December 8,

   2020.

           41.    Netlist took no action to withdraw the application that issued as the ’506 Patent

   from issuance, or to otherwise continue prosecution of that application, and the application issued

   as the ’506 Patent on December 8, 2020.

                  Netlist’s Failure to Disclose the Drafts and Presentations for DDR4
                  LRDIMMs from the Dec. 8, 2011, Mar. 5, 2012, and June 4, 2012 JEDEC JC-
                  40 Meetings Attended by Hyun Lee, and False Portrayal of Hyun Lee and
                  Jayesh R. Bhakta as Inventors.

           42.    At least according to Netlist’s characterizations of the inventive aspects of the

   disclosure and claims of the ’506 Patent, the draft specifications and related presentations for

   DDR4 LRDIMMs that were presented at the Dec. 8, 2011, Mar. 5, 2012, and June 4, 2012 meetings

   disclose the key allegedly inventive aspects of the claims of the ’506 Patent. These draft

   specifications and presentations include Committee Item Number 158.01 from the December 2011


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   meeting, Committee Item Number 0311.14 from the March 2012 meeting, and Committee Item

   Number 0311.12 from the June 2012 meeting.

          43.     Even though at least Hyun Lee was present at the JEDEC meeting at which those

   presentations were made, witnessed those presentations, and was present for the discussions that

   occurred about them, and immediately thereafter drafted the provisional application to which the

   ’506 Patent claims priority, on information and belief, Hyun Lee did not disclose any of these

   drafts and the presentations to the examiner of the application that issued as the ’506 Patent.

          44.     Those drafts and presentations are prior art under 35 U.S.C. § 102 at least as of the

   meeting in which they were presented and discussed, and are not cumulative of other art or

   information before the examiner of the application that issued as the ’506 Patent.

          45.     Those drafts and presentations also illustrate that Hyun Lee falsely portrayed

   himself and Jayesh R. Bhakta as the inventors of the alleged inventions claimed in the ’506 Patent.

   At a minimum, those drafts and presentations illustrate that Hyun Lee, based on Netlist’s

   infringement allegations, derived at least portions of the allegedly inventive aspects of the claimed

   inventions from others in attendance at the JC-40 meetings, who made those presentations on

   behalf of Intel, among others.

          46.     The Patent Office would not have allowed at least one claim of the ’506 Patent to

   issue had it been aware of those drafts and presentations at least because it would have found the

   claims obvious over those drafts and presentations (either in combination with the knowledge of

   one of ordinary skill or in combination with art disclosing the basic architecture and functionality

   of DDR4 LRDIMMs), that there are joint inventors that were not properly named on the

   applications that issued as the ’506 Patent, and/or that the alleged inventions claimed therein had




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   been derived in whole or in part from another.

          47.     The drafts and presentations that Hyun Lee failed to disclose to the Patent Office

   were not cumulative of other art before the examiner. The examiner stated that he allowed the

   claims because the art of record did not teach or suggest:

                  a memory controller system with memory modules having control
                  and address signal lines implemented to be used corresponding to
                  memory read operations to and from memory devices of the memory
                  module that are arranged in multiple ranks with data buffers couple
                  to memory devices, where memory read operations output read data
                  and read strobes associated with memory read operations, and where
                  the data buffer implemented delaying of a first read strobe by a
                  predetermined amount, i.e. generating a delayed read strobe,
                  sampling the first section of read data using the delayed read strobe,
                  and transmitting the section of read data to a data bus, where the
                  predetermined amount of delay is based at least on signals received
                  by the data buffer [during one or more previous operations] as
                  claimed.

   Notice of Allowability at 3–4. The withheld drafts and presentations for DDR4 LRDIMM

   explained the structure and operation of DDR4 LRDIMM devices, which Netlist argues practice

   the claims of the ’506 Patent. For example, Committee Item Number 158.01 shows the accused

   DDR4 LRDIMM’s structure, which Netlist argues includes the claimed “memory devices of the

   memory module that are arranged in multiple ranks with data buffers couple to memory device.”

   Committee Item No. 158.01 at 2. Moreover, the draft specifications explain DDR LRDIMM’s

   training modes including “Read Delay Training.” See, e.g., Committee Item No. 311.14 at 8–9.

   Netlist argues that these training modes are used to determine the claimed “predetermined

   amount.”

          48.     On information and belief, Hyun Lee specifically intended to deceive the Patent

   Office into believing that Hyun Lee and Jayesh R. Bhakta were the sole inventors of the ’506

   Patent, and/or that the claims of those patents are otherwise patentable, by withholding those drafts

   and presentations from the patent examiner during prosecution of the application that issued as the
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   ’506 Patent. On information and belief, Hyun Lee engaged in this conduct as part of a scheme to

   monetize Netlist’s patents through litigation against the industry.

                                         *       *        *      *

          49.     Inequitable Conduct: Any one or more acts set forth above are sufficient in and of

   itself/themselves to demonstrate that Netlist committed inequitable conduct during the prosecution

   of the ’506 Patent that renders the ’506 Patent unenforceable.

          50.     Unclean Hands: Furthermore, any one or more acts set forth above are sufficient in

   and of itself/themselves to demonstrate that Netlist has unclean hands in relation to its assertion of

   the ’506 Patent that renders the ’506 Patent unenforceable.

                    SIXTEENTH AFFIRMATIVE DEFENSE – 28 U.S.C. § 1498

          51.     Netlist’s recovery for alleged infringement of the Asserted Patents, if any, is limited

   pursuant to 28 U.S.C. § 1498 to the extent that any alleged infringement, in whole or part, is

   attributable to the United States government.

       SEVENTEENTH AFFIRMATIVE DEFENSE – BREACH OF RAND LICENSING
                             OBLIGATION

          52.     Netlist’s claims for injunctive relief are barred, in whole or in part, because of its

   failure to offer Micron a license to various of the Asserted Patents on reasonable terms and

   conditions that are demonstrably free of unfair discrimination (i.e., “RAND terms”).

          53.     Netlist is presently a member of JEDEC. Netlist committed various of the Asserted

   Patents to various JEDEC standards pursuant to the JEDEC Patent Policy, which sets certain

   obligations for owners of patents (like the Asserted Patents) that it reasonably believes are essential

   to one or more JEDEC standards. The JEDEC Patent Policy, as set forth in the JEDEC Manual of

   Organization and Procedure, states in relevant part that “[a] license will be offered, to applicants

   desiring to utilize the license for the purpose of implementing the JEDEC Standard under


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   reasonable terms and conditions that are free of any unfair discrimination . . . .”

             54.   Netlist has asserted that various of the Asserted Patents must be practiced to

   implement standards relating to memory technologies promulgated by the leading standard-setting

   organization in the memory technology field, JEDEC. Netlist therefore asserts that various of the

   Asserted Patents are “essential” to the implementation of the JEDEC standards in question (such

   allegedly standard “essential” patents are referred to herein as “SEPs”). JEDEC’s semiconductor

   memory standards enable interoperability—that is, the ability of memory products made by

   different manufacturers to work together and with computer and electronic devices made by others.

   JEDEC standards are widely implemented and, for many types of semiconductor memory

   products, it is imperative that they comply with JEDEC standards in order to be commercially

   viable.

             55.   Netlist has participated in the development of standards relating to memory

   technologies in JEDEC. Pursuant to JEDEC’s Patent Policy, Netlist submitted a “License

   Assurance/Disclosure Form” applicable to various of the Asserted Patents pursuant to which it has

   (a) disclosed each of those patents, or patents claiming priority to the same filing as various of the

   Asserted Patents, to be potentially essential to certain JEDEC standards and (b) committed to offer

   to license any claim of various of the Asserted Patents that is essential to the implementation of

   relevant JEDEC standards to those wishing to implement those JEDEC standards on RAND terms.

             56.   Moreover, pursuant to the JEDEC Patent Policy, which is binding upon Netlist,

   simply by virtue of its membership on the committees that developed the standards to which Netlist

   asserts the claims of various of the Asserted Patents are essential, Netlist is obligated to offer to

   license those claims to all potential licensees like Micron on RAND terms.

             57.   Netlist has breached its obligations to offer to license various of the Asserted



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   Patents on RAND terms by, among other things: (a) failing to offer to license its SEPs to Micron

   on terms that are reasonable and (b) seeking injunctive relief against Micron based upon its alleged

   infringement of various of the Asserted Patents despite Micron’s willingness to engage in

   discussions about licensing any claim shown to be valid and infringed on RAND terms. To date,

   and despite Micron’s attempts to obtain such a showing, Netlist has failed to show that any asserted

   claim is valid and infringed.

                EIGHTEENTH AFFIRMATIVE DEFENSE – PATENT MISUSE

          58.     Netlist’s claims are barred by the equitable doctrine of patent misuse. As set forth

   above, Netlist has failed to offer Micron a license to the Asserted Patents on RAND terms, contrary

   to its obligations and representations to JEDEC. In violation of such obligations, Netlist has

   instead leveraged market power created as a result of the standard-setting process and the patents

   it has asserted to be essential in order to extend the scope of patents beyond those it accuses Micron

   of practicing to include nonessential patents at an unreasonable and supra-competitive price fixed

   by a secret, anticompetitive agreement with its competitor SK hynix.

          59.     Netlist’s agreement with SK hynix determines the lowest price Netlist may offer

   Micron for a license based on a license including all of Netlist’s patents, regardless of whether

   they are practiced by Micron or not. Netlist’s agreement with SK hynix further assesses the

   acceptability of the price to be given to Micron based on all of Micron’s memory product revenue

   across distinct product markets, rather than being limited to those alleged to infringe, thereby

   conditioning the grant of a patent license on the payment of royalties on products that do not use

   the teaching of any patent asserted by Netlist. Netlist’s expansion of the scope of its patent rights

   beyond those asserted against Micron and tying of patent rights Netlist has asserted to be essential

   to those it has not accused Micron of practicing are barred by the doctrine of patent misuse.

                RESERVATION OF ADDITIONAL AFFIRMATIVE DEFENSES
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           Micron reserves all affirmative defenses under Rule 8(c) of the Federal Rules of Civil

   Procedure, the Patent Laws of the United States, and any other defenses at law or in equity that

   may exist now or that may be available in the future based on discovery and further factual

   investigation in this action.



   Dated: August 30, 2023                      Respectfully submitted,

                                               /s/ Michael R. Rueckheim
                                               Thomas M. Melsheimer
                                               State Bar No. 13922550
                                               TMelsheimer@winston.com
                                               Natalie Arbaugh
                                               State Bar No. 24033378
                                               NArbaugh@winston.com
                                               WINSTON & STRAWN LLP
                                               2121 N. Pearl Street, Suite 900
                                               Dallas, TX 75201
                                               Telephone: (214) 453-6500
                                               Facsimile: (214) 453-6400

                                               David P Enzminger (pro hac vice)
                                               denzminger@winston.com
                                               WINSTON & STRAWN LLP
                                               333 South Grand Avenue, 38th Floor
                                               Los Angeles, CA 90071-1543
                                               Telephone: (213) 615-1700
                                               Facsimile: (213) 615-1750

                                               Michael R. Rueckheim
                                               State Bar No. 24081129
                                               MRueckheim@winston.com
                                               Ryuk Park (pro hac vice)
                                               RPark@winston.com
                                               WINSTON & STRAWN LLP
                                               255 Shoreline Drive, Suite 520
                                               Redwood City, CA 94065
                                               Telephone: (650) 858-6500
                                               Facsimile: (650) 858-6559

                                               Matthew Hopkins (pro hac vice)
                                               State Bar No. 1500598
                                               mhopkins@winston.com
                                               WINSTON & STRAWN LLP
                                               1901 L Street, N.W.
                                               Washington, D.C. 20036
                                               Telephone: (202) 282-5000
                                               Facsimile: (202) 282-5100
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                                      William M. Logan
                                      State Bar No. 24106214
                                      wlogan@winston.com
                                      Juan C. Yaquian (pro hac vice)
                                      State Bar No. 24110559
                                      JYaquian@winston.com
                                      WINSTON & STRAWN LLP
                                      800 Capital Street, Suite 2400
                                      Houston, TX 77002
                                      Telephone: (713) 651-2600
                                      Facsimile: (713) 651-2700

                                      Vivek V. Krishnan (pro hac vice)
                                      vkrishnan@winston.com
                                      WINSTON & STRAWN LLP
                                      35 West Wacker Drive, Suite 4200
                                      Chicago, IL 60601
                                      Telephone: 312-558-9508
                                      Facsimile: 312-558-5700

                                      Wesley Hill
                                      State Bar No. 24032294
                                      wh@wsfirm.com
                                      Andrea Fair
                                      State Bar No. 24078488
                                      andrea@wsfirm.com
                                      Charles Everingham IV
                                      State Bar No. 00787447
                                      ce@wsfirm.com
                                      WARD, SMITH & HILL, PLLC
                                      1507 Bill Owens Parkway
                                      Longview, TX 75604
                                      Telephone: (903) 757-6400
                                      Facsimile: (903) 757-2323


                                      ATTORNEYS FOR DEFENDANTS
                                      MICRON TECHNOLOGY, INC.,
                                      MICRON SEMICONDUCTOR PRODUCTS,
                                      INC., MICRON TECHNOLOGY TEXAS, LLC




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on August 30, 2023, the foregoing document was electronically filed

   with the Clerk of the Court using the Court’s CM/ECF system, which will send notification of

   such filing to all counsel of record, including counsel for Plaintiff, Netlist, Inc.




                                                           /s/ Michael R. Rueckheim
                                                           Michael R. Rueckheim
